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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

MAURICIO MARTINEZ-DIAZ,
                                                       CASE NO. 2:12-CV-00243
        Petitioner,                                    CRIM. NO. 2:10-CR-00225(5)
                                                       JUDGE MARBLEY
        v.                                             MAGISTRATE JUDGE KING

UNITED STATES OF AMERICA,

        Respondent.


                                              ORDER

        On    October    30 ,     20131     the    United       States       Magistrate   Judge

recommended that this motion to vacate,                   filed pursuant to 28 U.S.C.           §


2255,    be dismissed.          Order and Report and Recorrunendation,                 Doc.   No.

216.     Although the parties were advised of their right to object to

the recommendation and of the consequences of their failure to do so,

there has been no objection.

        The   Report    and     Recorrunenda t i on,    Doc .   No.   216,     is   ADOPTED   AND

AFFIRMED.      This action is hereby DISMISSED.

        The Clerk is DIRECTED to enter FINAL JUDGMENT.
